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                            UNITED STATES DISTRICT COURT
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    12                    CENTRAL DISTRICT OF CALIFORNIA
    13   MOOG INC.,                           Case No. CV 22-9094-GW-MARx
    14
                    Plaintiff,                Hon. George H. Wu
    15
              v.
    16                                        ORDER GRANTING JOINT
         SKYRYSE, INC., ROBERT                STIPULATION TO VACATE ALL
    17                                        HEARING DATES, BRIEFING
         ALIN PILKINGTON, MISOOK
    18   KIM, and DOES NOS. 1-50,             DEADLINES, AND CASE
                                              SCHEDULE PENDING
    19              Defendants.               COMPLETION OF SETTLEMENT
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     1         The Court, having reviewed the stipulation submitted concurrently herewith,
     2   and good cause appearing therefore, hereby ORDERS THAT:
     3         1.    All pending hearing dates, briefing deadlines, and dates in the
     4   Scheduling Order (Dkt. 446) are hereby vacated;
     5         2.    The Court shall schedule a status conference on November 9, 2023 at
     6         8:30 a.m. If the Court receives requests for dismissal of all claims and
     7         counterclaims before the scheduled status conference, then the Court shall
     8         take the status conference off calendar. The parties are to file a joint status
     9         report by noon on November 6, 2023.
    10    IT IS SO ORDERED.
    11   Dated: September 26, 2023
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    13                                           ______________________________
                                                   HON GEORGE H. WU,
    14                                             United States District Judge

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